    Case: 1:19-cv-04565 Document #: 83 Filed: 08/27/19 Page 1 of 2 PageID #:2364



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Hangzhou Aoshuang E-                             )
 Commerce Co., Ltd.                               )
                                   Plaintiff,     )   Case No. 1:19-cv-04565
                                                  )
                                                  )   Judge Martha M. Pacold
                                   v.             )
 008fashion, et al.                               )
                                                  )
                                                  )
                                   Defendants.    )

                             Notice of Dismissal Under Rule 41(a)(1)

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Hangzhou Aoshuang E-

Commerce Co., Ltd. (“Plaintiff”) hereby dismisses this action without prejudice against the

following Defendants:

                Schedule A                       Defendant Name
                 Line No.
                    138                          Shop3093071 Store
                    144                            Sprima clothing
                    146                          Star Star in The Sky

Dated this August 27, 2019
                                                              Respectfully submitted,

                                                              /s/Adam E. Urbanczyk
                                                              Adam E. Urbanczyk
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                                                              ARDC No. 6301067
                                                              Counsel for Plaintiff Hangzhou Aoshuang
                                                              E-Commerce Co., Ltd.
    Case: 1:19-cv-04565 Document #: 83 Filed: 08/27/19 Page 2 of 2 PageID #:2364



                                       Certificate of Service

I hereby certify that a true and correct copy of Plaintiff’s Notice of Voluntary Dismissal will be
sent via the Court’s e-filing system to counsel of record this August 27, 2019.

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                                                                E-Commerce Co., Ltd.
